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a     UNITEDSTl3TES
      POSTl3L SERVICE
                                                         PageID 71


June 23, 2025


Dear Leigh Johnson:


The following is in response to your request for proof of delivery on your item with the tracking number:
9589 0710 5270 1806 0116 24.

Item Details

Status:                                                 Delivered , Left with Individual
Status Date / Time:                                     June 20, 2025, 1:01 pm
Location:                                               MEMPHIS, TN 38104
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail ™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 12.0oz
Destination Delivery Address

Street Address:                                         650 E PARKWAYS
City, State ZIP Code:                                   MEMPHIS, TN 38104-5519
Recipient Signature


                  Signature of Recipient:                 ----
                                                           , I I vv
                                                                 IA~
                                                                    v-----
                                                                       ~




                                                        650 E PARKWAYS, MEMPHIS,
                                                        TN 38104
                   Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service®for your mailing needs. If you require additional
assistance , please contact your local Post Office TM or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
